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                  In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                              No. 15-1404V

*************************
JEFFREY TREADWAY,          *                                      Special Master Corcoran
                           *
                           *
               Petitioner, *                                      Filed: February 14, 2017
                           *
           v.              *
                           *                                      Decision by Stipulation; Damages;
SECRETARY OF HEALTH        *                                      Influenza (“Flu”) Vaccine; Bell’s palsy.
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                           *
*************************


William E. Cochran, Jr., Black McLaren, et al., PC, Memphis, TN, for Petitioner.

Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                   DECISION AWARDING DAMAGES1

        On November 19, 2015, Jeffrey Treadway filed a petition seeking compensation under the
National Vaccine Injury Compensation Program (“Vaccine Program”).2 Petitioner alleges that he
suffers from Bell’s palsy as a result of his October 10, 2014, receipt of the influenza (“flu”)
vaccine. Moreover, Petitioner alleges that he experienced residual effects of this injury for more
than six months.




1
  Because this decision contains a reasoned explanation for my actions in this case, I will post it on the United States
Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial
in substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
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        Respondent denies that Petitioner’s flu vaccination caused his alleged Bell’s palsy, or any
other injury or condition. Nonetheless both parties, while maintaining their above-stated positions,
agreed in a stipulation (filed on February 14, 2017) that the issues before them could be settled,
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

             A lump sum of $60,000.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith.3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
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